813 F.2d 399
    Service Employees International Union, Local 36, ServiceEmployees Local 36/Bolr Pension Fund, ServiceEmployees Local 36/bolr Welfare Fundv.Pullman (Allan), Atlantic Realty Group, Inc., Medical ArtsRealty Corporation, Medical Tower Limited, SheldonEquities, Inc., Sheldon HoldingCorporation, 2500 Reed Street, Inc.
    NO. 86-1372
    United States Court of Appeals,Third Circuit.
    FEB 02, 1987
    
      Appeal From:  E.D.Pa.,
      Fullam, J.
    
    
      1
      AFFIRMED.
    
    